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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  KATIE ROBINSON, et al.,
                                                  Case No. 1:24-cv-00306-DCN
                       Plaintiffs,
                                                 STIPULATED PROTECTIVE
  v.                                             ORDER
  RAUL LABRADOR, et al.,

                       Defendants.


       One or more of the parties in this matter anticipates the production of documents

or information that at least one party considers to be, or to contain, confidential,

proprietary, trade secret, or commercially or personally sensitive information, and that

may be appropriately subject to protection under Federal Rule of Civil Procedure 26(c).

        The parties agree that good cause exists to protect the confidential nature of the

 information contained in certain documents, interrogatory responses, responses to

 requests for admission, or deposition testimony. The parties agree that the entry of this

 Stipulated Protective Order (“Protective Order”) is warranted to protect against

 disclosure of such documents and information.

        Based upon the above stipulation of the parties, and the Court being duly advised,

 IT IS HEREBY ORDERED as follows:

        1.     Use of any information or documents labeled “Confidential” and subject

 to this Protective Order, including all information derived therefrom, shall be restricted


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solely to the litigation of this case and shall not be used by any party for any other purpose.

This Protective Order, however, does not restrict the disclosure or use of any information

or documents lawfully obtained by the receiving party through means or sources outside

of this litigation. Should a dispute arise as to any specific information or document, the

burden shall be on the party claiming that such information or document was lawfully

obtained through means and sources outside of this litigation.

       2.     The Parties acknowledge that this Protective Order does not confer blanket

protections on all disclosures during discovery or in the course of making initial or

supplemental disclosures under Rule 26(a). Designations under this Protective Order

shall be made with care and shall not be made absent a good faith belief that the

designated material satisfies the criteria set forth below. The Designating Party shall

consider whether appropriate redactions can address the

need for confidentiality in lieu of designating a document as confidential. If it comes

to the attention of any party or non-party that discloses or produces any discovery material

that designated material does not qualify for protection at all or does not qualify for the

level of protection initially asserted, the designating party must promptly notify all other

parties that it is withdrawing or changing the designation.

       3.     The parties, and third parties subpoenaed by one of the parties, may

designate as “Confidential” documents, testimony, written responses, or other materials

produced in this case if they contain information that the producing party has a good

faith basis for asserting is confidential under the applicable legal standards. Information

may be designated as “Confidential” as follows: Information may be designated


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 “Confidential” if the Designating Party claims in good faith that such information,

 document, or tangible item embodies, constitutes, contains, reveals, relates to, or reflects

 any medical records, health records, and other medical information that may be subject

 to privacy and security protection under The Health Insurance Portability and

 Accountability Act of 1996 (“HIPAA”) or other applicable U.S. data security and

 privacy laws or regulations, trade secret or other proprietary or confidential information

 within the meaning of Federal Rule of Civil Procedure 26(c)(1)(G).

        4.      The party shall designate each page of the document with a stamp

 identifying it as “Confidential” if practical to do so. Within thirty (30) days after receipt

 of the final transcript of the deposition of any party or witness in this case, a party or the

 witness may designate as “Confidential” any portion of the transcript that the party or

 witness contends discloses confidential information. Unless otherwise agreed, all

 deposition transcripts shall be treated as “Confidential” until the expiration of the thirty-

 day period.

        5.      If portions of documents or other materials deemed “Confidential,” or any

 papers containing or making reference to confidential portions of such materials are filed

 with the Court, they shall be filed under seal and marked according to the provisions of

 District of Idaho Local Civil Rule 5.3. The parties acknowledge that this Protective Order

 may not entitle them to permanently seal all documents or information marked

 “Confidential” filed with the Court.

         6.    In seeking to file a document under seal, the parties understand there is a

strong presumption in the Ninth Circuit in favor of access to court records and that sealing


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a document from public view is the exception. In addition, the parties understand that the

Court will evaluate any motion to seal either under a finding of good cause for non-

dispositive motions or a compelling reason supported by specific facts for dispositive

motions. See Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir.

2006). The designating party bears the burden to establish the facts necessary to seal such

information or documents.

        7.     If the designating party is filing with the Court documents or information

 that it marked “Confidential” it shall file a motion to seal pursuant to District of Idaho

 Local Civil Rule 5.3 that sets forth the specific facts necessary to justify the sealing of

 the documents or information. If the non-designating party is filing with the Court

 documents or information marked “Confidential” by another party, the non-designating

 party shall file a motion to seal pursuant to District of Idaho Local Civil Rule 5.3

 explaining that it is not the party that designated the documents or information as

 “Confidential” and either: (a) setting forth its understanding as to why the documents or

 information have been designated “Confidential” by another party, or (b) specifically

 objecting to the documents or information being designated as “Confidential” by another

 party and/or maintained under seal by the Court. If the non-designating party raises an

 objection or fails to adequately support the justification for sealing, the designating party

 may respond to the motion to seal, setting forth the specific facts necessary to justify

 maintaining confidentiality and filing the documents under seal.

        8.     Use of any information, documents, or portions of documents marked

 “Confidential,” including all information derived therefrom, shall be restricted solely to


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the following persons, who agree to be bound by the terms of this Protective Order, unless

additional persons are added by the stipulation of counsel or authorized by the Court:

              a.     Outside counsel of record for the parties, and the administrative

                     staff of outside counsel’s law firms.

              b.     In-house counsel for the parties, and the administrative staff for

                     each in-house counsel.

              c.     Any party to this action who is an individual, and every employee,

                     director, officer, or manager of any party to this action who is not an

                     individual, but only to the extent necessary to further the interest of

                     the parties in this litigation.

              d.     Independent consultants or expert witnesses (including partners,

                     associates, and employees of the firm which employs such

                     consultant or expert) retained by a party or its attorneys for purposes

                     of this litigation, but only to the extent necessary to further the

                     interest of the parties in this litigation.

              e.     The Court and its personnel, including, but not limited to,

                     stenographic reporters regularly employed by the Court and

                     stenographic reporters not regularly employed by the Court who are

                     engaged by the Court or the parties during the litigation of this

                     action.

              f.     The authors and the original recipients of the documents.

              g.     Any court reporter or videographer reporting a deposition.


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                h.    Employees of copy services, microfilming or database services,

                      trial support firms, and/or translators who are engaged by the parties

                      during the litigation of this action.

                i.    Any mediator who is assigned to hear this matter, and his or her

                      staff, subject to their agreement to maintain confidentiality to the

                      same degree as required by this Protective Order.

                j.    Any fact witness in this matter to whom disclosure is reasonably

                      necessary.

                k.    Any other person with the prior written consent of the designating

                      party.

       9.       Prior to being shown any document produced by another party marked

“Confidential,” any person listed under Paragraphs 8(d), 8(i), 8(j), and 8(k) shall agree

to be bound by the terms of this Order by signing the agreement attached as Exhibit A.

Prior to being shown any document produced by another party marked “Confidential,”

that reveals, relates to, or reflects any medical records, health records, and other medical

information that may be subject to privacy and security protection under The Health

Insurance Portability and Accountability Act of 1996 (“HIPAA”) or other applicable

U.S. data security and privacy laws or regulations, any person listed under Paragraphs

8(c), shall agree to be bound by the terms of this Order by signing the agreement attached

as Exhibit A.

       10.      Whenever information designated as “Confidential” pursuant to this

Protective Order is to be discussed by a party or disclosed in a deposition proceeding,


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the designating party may exclude from the room any person, other than persons

designated in Paragraph 8, as appropriate, for that portion of the deposition.

       11.    Notwithstanding the above, the Court shall determine a party’s right to use

documents or information marked “Confidential” at a hearing, trial, or other proceeding

in this action. The Court may also require the redaction of personal identifiers of

confidential information before use at a hearing, trial, or other proceeding in this action.

The designation of “Confidential” shall not affect the Court’s determination as to

whether the material shall be received into evidence; nor shall such designation

constitute the authentication of such material or a waiver of any right to challenge the

relevance, confidentiality, or admissibility of such material. This Protective Order shall

not govern the admission of evidence at trial in open court. Should a designating party

believe that documents, materials, or information designated as “Confidential” should

not be used in open court during trial, the designating party will have the burden to seek

such protections from the Court prior to trial.

       12.    Each party reserves the right to dispute the confidential status of

documents or information claimed by any other party or subpoenaed party in accordance

with this Protective Order. If a party believes that any documents or materials have been

inappropriately designated as “Confidential” by another party or subpoenaed party, that

party shall confer in good faith with counsel for the designating party. As part of that

conferral, the designating party must assess whether redaction is a viable alternative to a

confidential designation. If the parties cannot reach an agreement, the parties shall use

the Court’s informal discovery dispute process to seek a resolution, if the Court uses one.


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     If the parties are unable to resolve the matter informally, the designating party shall

file an appropriate motion before the Court requesting that the Court determine whether

the Protective Order covers the document in dispute. The designating party bears the

burden of establishing good cause for why the document should not be disclosed. A party

who disagrees with another party’s designation must nevertheless abide by that

designation until the matter is resolved by agreement of the parties or by order of the

Court.

         13.   The inadvertent failure to designate a document, testimony, or other

material as “Confidential” prior to disclosure shall not operate as a waiver of the party’s

right to later designate the document, testimony, or other material as “Confidential” or

limit in any way a party’s ability to recall or “claw back” privileged materials that may

have been inadvertently disclosed. The receiving party or its counsel shall not disclose

such documents or materials if that party knows or reasonably should know that a claim

of confidentiality would be made by the producing party. Promptly after receiving notice

from the producing party of confidentiality claim, the receiving party or its counsel shall

inform the producing party of all pertinent facts relating to the prior disclosure of the

newly designated documents or materials and shall make reasonable efforts to retrieve

such documents and materials and to prevent further disclosure.

         14.   Designation by either party of information or documents as “Confidential,”

or failure to so designate, will not constitute an admission that information or documents

are or are not confidential or trade secrets. Neither party may introduce into evidence

in the litigation, other than a motion to determine whether the Protective Order


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covers the information or documents in dispute, the fact that the other party designated

or failed to designate information or documents as “Confidential.”

       15.    Upon the request of the producing party, within 30 days after the entry of

a final judgment no longer subject to appeal on the merits of this case, or the execution

of any agreement between the parties to resolve and settle this case, the parties, and any

person authorized by this Protective Order to receive confidential information, shall

return to the producing party or third party, or destroy, all information and documents

subject to this Protective Order. Returned materials shall be delivered in sealed envelopes

marked “Confidential” to respective counsel. The party requesting the return of materials

shall pay the reasonable costs of responding to its request. Notwithstanding the foregoing,

counsel for a party may retain archival copies of confidential documents including any

copies which contain work-product.

       16.    This Protective Order shall not constitute a waiver of any party’s or non-

party’s right to oppose any discovery request or object to the admissibility of any

document, testimony, or other information.

       17.    Nothing in this Protective Order shall prejudice any party from seeking

amendments to expand or restrict the rights of access to, and use of, confidential

information, or other modifications, subject to order by the Court.

       18.    The restrictions on disclosure and use of confidential information shall

survive the conclusion of this action.

       The Court has reviewed the reasons offered in support of entry of this Stipulated

Protective Order and finds that there is good cause to protect the confidential nature of


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certain information. Accordingly, the Court adopts the above Stipulated Protective Order

in this action.

       IT IS SO ORDERED.

                                               DATED: November 13, 2024


                                               _________________________
                                               David C. Nye
                                               Chief U.S. District Court Judge




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                                     EXHIBIT A


                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


  KATIE ROBINSON, et al.,
                                               Case No. 1:24-cv-00306-DCN
            Plaintiffs,

 v.

  RAÚL LABRADOR, et al.,

            Defendants.



       I,                                 , have been advised by counsel of record for

                                     in the above-captioned action of the protective

order governing the delivery, publication, and disclosure of confidential documents and

information produced in this litigation. I have read a copy of the protective order and

agree to abide by its terms.




                                        Signed



                                        Printed



                                        Date


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So stipulated and submitted by:

 AMERICAN CIVIL LIBERTIES UNION DUKE EVETT, PLLC,
 OF IDAHO


 By: /s/ Emily Myrei Croston               By: /s/ Christina M. Hesse
      Emily Myrei Croston                       Christina M. Hesse – Of the Firm
     Counsel for Plaintiffs                     Attorney for Defendants Centurion,
                                                LLC and Centurion of Idaho, LLC




 STATE OF IDAHO                            BRADLEY ARANT BOULT CUMMINGS,
 OFFICE OF THE ATTORNEY GENERAL            LLP


                                           By: /s/ Michael J. Bentley
 By: /s/ Matthew Maurer
                                                Michael J. Bentley (pro hac vice)
     Matthew Maurer
                                                Attorney for Defendants Centurion, LLC
     Counsel for Defendants Raúl                and Centurion of Idaho, LLC
     Labrador, Brad Little, Josh Tewalt,
     and Bree Derrick




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